Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 1 of 16




                                                                        CR1.01.0084

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 2 of 16




                                                                        CR1.01.0085

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 3 of 16




                                                                        CR1.01.0086

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 4 of 16




                                                                        CR1.01.0087

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 5 of 16




                                                                        CR1.01.0088

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 6 of 16




                                                                        CR1.01.0089

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 7 of 16




                                                                        CR1.01.0090

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 8 of 16




                                                                        CR1.01.0091

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 9 of 16




                                                                        CR1.01.0092

                                                                     Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 10 of
                                      16




                                                                      CR1.01.0093

                                                                   Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 11 of
                                      16




                                                                      CR1.01.0094

                                                                   Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 12 of
                                      16




                                                                      CR1.01.0095

                                                                   Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 13 of
                                      16




                                                                      CR1.01.0096

                                                                   Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 14 of
                                      16




                                                                      CR1.01.0097

                                                                   Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 15 of
                                      16




                                                                      CR1.01.0098

                                                                   Exhibit "H"
Case 1:18-cv-23443-DPG Document 64-12 Entered on FLSD Docket 08/23/2019 Page 16 of
                                      16




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                                                                   Exhibit "H"
